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  Attorneys for Defendant



                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                       Portland Division


 JEFFREY ROSS GAUTHIER and CLUB                                           Case No. 3:15-cv-1130-SB
 MYSTIC, LLC,

                    Plaintiffs,                      STIPULATION OF DISMISSALWITH
                                                     PREJUDICE
        v.

 CATLIN SPECIALTY INSURANCE
 COMPANY,

                    Defendant.




       Pursuant to F.R.Civ. P. 41(a), the Parties hereby stipulate that the Complaint and action

in the above-captioned matter be dismissed, with prejudice and without costs to either party.

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                                                                             MARTIN, BISCHOFF, TEMPLETON,
Page 1 - STIPULATION OF DISMISSAL WITH PREJUDICE                               LANGSLET & HOFFMAN LLP
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        Case 3:15-cv-01130-SB    Document 26       Filed 02/29/16   Page 2 of 2




      AGREED and STIPULATED to by the parties:

Dated: February 29, 2016.

                                                   MB LAW GROUP, LLP


 s/ Mark E. Olmsted                                  s/ Jonathan M. Hoffman
Mark E. Olmsted                                    Jonathan M. Hoffman, OSB No. 754180
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